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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

ALLAN ROBERTS et al.,                                      )
                                                           )
Plaintiffs,                                                )
                                                           )
v.                                                         ) Case No. 1:20cv1227
                                                           )
ISLAMIC REPUBLIC OF IRAN                                   )
                                                           )
Defendant.                                                 )

                   NOTICE OF FAILED SERVICE UNDER 28 U.S.C. § 1608(a)(3)

       Plaintiffs, by counsel, hereby notify the Court that attempts to serve the Islamic Republic

of Iran (“Iran”) pursuant to the requirements of 28 U.S.C. § 1608(a)(3) have failed. This

provision requires attempting service “by any form of mail requiring a signed receipt, to be

addressed and dispatched by the clerk of the court to the head of the ministry of foreign affairs of

the foreign state concerned.” 28 U.S.C. § 1608(a)(3).

       Counsel for Plaintiffs has learned that shipping companies DHL, UPS, and Fed-Ex no

longer ship packages from the United States of America to Iran. Therefore, the only available

avenue for attempting service by foreign mailing is through the United States Postal Service.

Plaintiffs filed their Affidavit of Foreign Mailing under 28 U.S.C. § 1608(a)(3) on June 8, 2020.

ECF No. 6. The following day, the Clerk’s Office responded by posting to the case docket that it

“is unable to effect service via the U.S. Post Office.” Accordingly, Plaintiffs attempts to serve

Iran pursuant to 28 U.S.C. § 1608(a)(3) have failed.

       Pursuant to Section 1608, “if service cannot be made within 30 days under paragraph (3)”

the next step is for service “to be addressed and dispatched by the clerk of the court to the

Secretary of State in Washington, District of Columbia, to the attention of the Director of Special

Consular Services.” 28 U.S.C. § 1608(a)(4). Since thirty days have transpired since Plaintiffs’
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attempted service by foreign mailing failed, it is now appropriate for Plaintiffs to proceed with

diplomatic service under Section 1608(a)(4). Plaintiffs will file the necessary documents to

initiate diplomatic service shortly.



                                                     Respectfully submitted,

                                                            /s/ Kevin A. Hoffman__
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